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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF OKLAHOMA

 PAUL T. ROPPOLO,

                        Plaintiff,

 vs.                                               Case No. CIV-19-127-RAW-SPS

 JAMES YATES, et al.,

                        Defendants.




                         DEFENDANT’S MOTION TO DISMISS
                             AND BRIEF IN SUPPORT


          COME NOW Defendants CoreCivic, Yates, Brown, Garrison, Ade, Larimer and

 Sanford by and through their attorney of record, Darrell L. Moore, OBA #6332, and

 pursuant to 42 U.S.C. § 1997e(a) and Federal Rules of Civil Procedure Rule 12(b)(6),

 respectfully move this Court to dismiss Plaintiff's action.

          Plaintiff filed his 3rd Amended Complaint with this Court on April 17, 2020. By

 way of this Motion to Dismiss, Defendants respectfully ask the Court to review that

 amended complaint, and to then determine the following question: Whether Plaintiff

 properly exhausted administrative remedies as to the claims he has presented to the

 Court.

          Pursuant to LCvR 7.1(b), Defendants’ Motion and brief demonstrating Plaintiff’s

 failure to exhaust administrative remedies is presented to this Honorable Court as one

 document.


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        The Tenth Circuit Court of Appeals, in Steele v. Federal Bureau of Prisons, 355

 F.3d 1204 (10th Cir. 2003)(citing to Oxendine v. Kaplan, 241 F.3d 1272, 1275 (10th Cir.

 2001)), abrogated in part on other grounds; and Jones v. Bock, 549 U.S. 199, 127 S. Ct.

 910, 166 L. Ed. 2d 798 (2007), has stated reliance upon pleadings and administrative

 materials, such as grievance records and grievance policies, are allowable in determining

 a Motion to Dismiss.

        Defendants herein raise only the threshold issue of Plaintiff’s failure to exhaust

 administrative remedies. It is respectfully requested that if the Court converts this

 Motion to Dismiss to a Motion for Summary Judgment, that the Court grant Defendants,

 if any portion of the Plaintiff’s action survives, leave to later file a Motion for Summary

 Judgment on the merits of the case.

                              STATEMENT OF THE CASE

        Plaintiff appears pro se. Plaintiff is an inmate in the custody of the Oklahoma

 Department of Corrections. He is currently housed at Cimarron Correctional Facility, in

 Cushing, Oklahoma. However, at all times relevant to this action with regards to

 allegations made against these Defendants, Plaintiff was housed at Davis Correctional

 Facility, Holdenville, Oklahoma pursuant to a contract between CoreCivic and the

 Oklahoma Department of Corrections. CoreCivic owns and operates the Davis

 Correctional Facility. Defendants Yates, Ade, Larimer, Brown, Garrison, and Sanford

 were at all times relevant to Plaintiff’s allegations employees of CoreCivic at the Davis

 Correctional Facility. Defendant Yates was the facility Warden at Davis Correctional

 Facility. Defendant Ade is a Unit Manager. Defendant Larimer is the facility Health

 Services Administrator. Defendant Sanford is the facility Mental Health Coordinator.

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 Defendant Brown is the Chief of Security. Defendant Garrison is the facility

 investigator. The remaining served Defendants are employed by the Oklahoma

 Department of Corrections.

                                        PROPOSITION

   If Plaintiff Failed to Properly Exhaust Administrative Remedies as to his Claims,
                       Any un-exhausted Claim Must Be Dismissed.

         The Prison Litigation Reform Act (PLRA), enacted by the Congress in 1996,

 directs prisoners to exhaust administrative remedies before initiating legal action

 complaining of prison conditions under section 1983. The PLRA states, as follows:

         “No action shall be brought with respect to prison conditions under section 1983
         of this title, or any other Federal law, by a prisoner confined in any jail, prison, or
         other correctional facility until such administrative remedies as are available are
         exhausted.” 42 U.S.C. §1997e(a).

         Plaintiff’s pro se third amended Complaint, filed pursuant to 42 U.S.C. § 1983,

 alleges Defendants violated his civil rights by denying him necessary mental health care,

 by taking retaliatory actions against him, by improperly classifying his security level, and

 by subjecting him to various unconstitutional conditions of confinement at Davis

 Correctional Facility (i.e., a dirty cell, denial of cleaning supplies, failure of staff to

 protect Plaintiff, denying him access to recreation, denying him access to showers, and

 soiling his weekly laundry exchange).

         In Porter v. Nussle, 534 U.S. 516, 122 S.Ct. 983 (2002), the Supreme Court

 determined what the §1997e(a) term “prison conditions” means. Justice Ginsburg,

 delivering the opinion of a unanimous Court stated as follows:

         “For the reasons stated, we hold that the PLRA’s exhaustion requirement applies
         to all inmate suits about prison life, whether they involve general circumstances
         or particular episodes, and whether they allege excessive force or some other
         wrong.” Porter, at 532.
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        Plaintiff’s allegations levied against Defendants fall within the rubric of “inmate

 suits about prison life.” Thus, consistent with Porter, id., the PLRA exhaustion

 requirement must be applied to Plaintiff’s suit and all his allegations contained therein.

        The Supreme Court decision of Jones v. Bock, 549 U.S. 199, 127 S.Ct. 910, 166

 L.Ed.2d 798 (2007) did nothing to weaken, modify, or repudiate the Porter decision that

 an inmate must exhaust administrative remedies complaining of “prison conditions.” In

 Jones, 918-919, the Supreme Court, when referring to the Porter decision, stated, “There

 is no question that exhaustion is mandatory under the PLRA and that unexhausted claims

 cannot be brought in court.”

        It makes no difference that Plaintiff was an inmate held in a privately-operated

 facility. The exhaustion requirement applies fully when the plaintiff is a federal or state

 inmate held in a privately-operated facility. See Ross v. County of Bernalillo, 365 F.3d

 1181, 1184 (10th Cir. 2004), abrogated in part on other grounds, Jones v. Bock, 549 U.S.

 199, 127 S.Ct. 910 (2007).

 a. Administrative Remedies were in place at the Davis prison.

        The Oklahoma Department of Corrections has promulgated an inmate/offender

 grievance process and the process is used at Davis Correctional Facility. A copy of the

 applicable DOC grievance process policy document, OP-090124, is attached hereto as

 Exhibit 1.

        The Oklahoma DOC administrative remedies policy first requires an inmate to

 attempt to resolve any issue through informal resolution. This is done by the inmate

 submitting a Request to Staff (RTS) to the appropriate staff member. If the inmate is not



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 satisfied with the response from the staff member, he must then file a formal grievance,

 attaching to the grievance the Request to Staff with the response from the staff member.

        If the inmate remains unsatisfied following the filing of the grievance, and his

 receipt of the grievance response, as a final step the inmate must appeal the matter to the

 Oklahoma DOC’s Administrative Review Authority. The ruling of the administrative

 review authority is final and concludes the administrative remedy process for inmates

 within the jurisdiction of the Oklahoma Department of Corrections. See Exhibit 1, DOC

 OP-090124, ¶VII, Appeal Process and Procedure.

        Plaintiff’s complaint is silent as to any efforts he made regarding exhaustion of

 administrative remedies.

 b. Plaintiff’s use of the Administrative Remedies Process.

        According to Terry Underwood, the Grievance Coordinator at Davis Correctional

 Facility, Plaintiff did submit grievances while he was incarcerated as Davis Correctional

 Facility, but he did not exhaust administrative remedies as to any grieved issue. See Ms.

 Underwood’s affidavit attached hereto as Exhibit 2, ¶7, 21.

        Plaintiff’s Grievance Records are attached hereto as Exhibit 3 and a synopsis of

 those records is as follows:

 Grievance No. 2018-1001-031-G: (Exhibit 3, Pgs. 1-8)

        Plaintiff submitted a Request to Staff to the Law Library Supervisor on February

 6, 2018 requesting he be provided with shepardized cases that support his listed cases.

 That RTS was responded to by the Library Supervisor noting that she could not do the

 research or the shepardizing for him, but that he could sign up for legal research

 computer time.

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        Plaintiff submitted Grievance No. 2018-1001-031-G on February 21, 2018 asking

 that he be allowed to purchase shepardized cases that support his cases. That grievance

 was denied on March 1, 2018 noting:

         Plaintiff Roppolo asked that the Law Library allow him to purchase only the
         most favorable U.S. Supreme Court decisions that are relevant to the court cases
         he listed.
         After an investigation of the matter Willa Burney, Law Library Supervisor
         advised that I/M Roppolo is able to do his own research into what cases would
         be most favorable to the cases he listed. It is not the Law Library's or the Law
         Library clerks' responsibility to do the research for him. After I/M Roppolo
         determines what cases are most favorable, the Law Library will print them and
         allow him to purchase the documents.

        Plaintiff appealed that Grievance response to Medical Services. On March 27,

 2018 the Grievance was returned to him unanswered as having been improperly

 submitted.

 Grievance No. 2018-1001-095-G: (Exhibit 3, Pgs. 9-12)

        Plaintiff submitted a Request to Staff to Health Services Administrator Larimer

 on April 4, 2018 stating he was willing to pay Mr. Larimer out of pocket for Mental

 Health Therapy if he would allow it. That RTS was responded to by the Health Services

 Administrator on April 9, 2018 noting: This is not allowable – you have been given

 handouts from mental health to help you.

        Plaintiff submitted Grievance No. 2018-1001-095-G on April 27, 2018

 complaining that for seven years he had been asking DOC, and DCF for months, for

 counseling. The Grievance was returned to him unanswered on April 30, 2018 as having

 been filed out of time, noting that his RTS was answered on April 9 and that his

 Grievance was filed April 27 – more than the allowable 15 days.

 Grievance No. 2018-1001-098-G: (Exhibit 3, Pgs. 13-18)

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        Plaintiff submitted a Request to Staff to Health Services Administrator Larimer

 on April 23, 2018 requesting mental health therapy from the State of Oklahoma. On

 April 25, 2018, HSA Larimer responded: You have seen mental health 4-12-18, 4-23-18,

 and 4-24-18. Plaintiff submitted Grievance No. 2016-1001-184-G on May 1, 2018

 stating: THERAPY! The grievance was responded to as follows:

        Plaintiff Roppolo requested that he be treated by the Mental Health Staff more
        than be given handouts or quick chats at his door. After an investigation of the
        matter by Ray Larimer, Health Services Administrator, I/M Roppolo was seen by
        Mental Health on 4/12/2018, 4/23/2018 and 4/24/2018. I/M Roppolo is being
        followed per DOC Guidelines. Inmate Roppolo’s Relief is Denied.

        Plaintiff appealed that Grievance response to Medical Services. On June 8, 2018

 the Grievance appeal was returned to him unanswered noting:

        You are out of time to submit this complaint. According to OP-090124, the
        documents must be received in the appropriate office within the requisite time
        frame. Policy mandates that your “Request to Staff” (RTS) form be received
        within seven (7) calendar days of the underlying incident. The event of which you
        complain occurred on April 5, 2018. Your RTS was not stamped into the law
        library until April 23, 2018. Consequently, you are out of time to submit grievance
        #2018-1001-00098-G.

 Grievance No. 2018-1001-347-G: (Exhibit 3, Pgs. 19-25)

        Plaintiff submitted a Request to Dental Staff on November 18, 2018 asking that

 he be placed on the list to receive a new partial. That same date he submitted another

 Request to Dental Staff asking when his first appointment had occurred. The response

 was it appears to have been on 1-9-18. Plaintiff submitted Grievance No. 2018-1001-

 347-G on December 4, 2018 stating he wanted to know if the dentist intended on making

 Plaintiff wait a full year. The Grievance was returned unanswered to Plaintiff on

 December 10, 2018 noting that the RTS request was inconsistent with the request in his

 Grievance; that his Grievance could not be completed in pencil; and that he could only

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 address 1 issue per grievance. He was permitted 10 days to correct and resubmit the

 grievance, but he did not do so.

 Grievance No. 2018-1001-381-G: (Exhibit 3, Pgs. 26-29)

        Plaintiff submitted a Request to Staff to Warden Yates on December 10, 2018.

 That RTS was redirected to the facility’s Mental Health Staff. Plaintiff asked if he could

 have his agent post his feelings, requests, desires and story concerning his mental health

 to the internet. Plaintiff submitted Grievance No. 2018-1001-381-G on December 26,

 2018 asking if it is his 1st amendment right to have his agent post his mental health story

 and supplements to the internet. Yes? Or No? The Grievance was returned to Plaintiff

 unanswered on December 28, 2018 noting that this issue as presented was not grievable.

 Grievance No. 2019-1001-026-G: (Exhibit 3, Pgs. 30-34)

        Plaintiff submitted a Request to Staff to Unit Manager Ade on December 18, 2018

 stating that he wanted to know whom at Lexington arranged to send him to DCF

 Supermax. UM Ade responded on December 20, 2018 stating, “I have no access to that,

 we receive who DOC population sends us.” Plaintiff submitted Grievance No. 2019-

 1001-026-G on January 8, 2019 stating he wanted to know the name of the persons that

 actually signed for him to be sent to Max. That Grievance was returned to Plaintiff

 unanswered on January 24, 2019 noting, “you will receive an amended response from

 Unit Manager Ade. Once you have done what she suggested, you can resubmit your

 grievance regarding this matter.” Plaintiff chose not to resubmit.

 Grievance No. 2019-1001-053-G: (Exhibit 3, Pgs. 35-39)

        Plaintiff submitted a Request to Staff to the Chief of Security on January 18, 2019

 asking if he can expect punishment from disregarding the COS’s direct orders and

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 expressing to the public his life story. Chief Brown responded on January 24, 2019

 stating that a review will be conducted into your action, if found in violation of policy

 you will receive a write up. Plaintiff submitted Grievance No. 2019-1001-053-G on

 February 1, 2019 stating he would follow the OP 060125 and punish me, not have me

 killed like certain guards have tried to help me by such warnings. The grievance was

 returned unanswered on February 6, 2019 noting that due to Plaintiff’s abuse of the

 Grievance Process he was receiving an official Grievance Restriction warning.

 Grievance No. 2019-1001-192-G: (Exhibit 3, Pgs. 40-49)

           Plaintiff submitted a Request to Staff to Unit Manager Ade on April 3, 2019

 regarding having an agent use the DCF toll phones to record his mental health story. UM

 Ade responded on April 4, 2019 stating, “no sir, your voice recording cannot be placed

 on your website.” Plaintiff submitted Grievance No. 2019-1001-192-G on April 11, 2019

 stating “I want therapy. I want to be well - that’s all.” That Grievance was returned

 unanswered on April 17, 2019 noting that the RTS issue was not consistent with the

 submitted Grievance issue. Plaintiff was given 10 days to correct his grievance and re-

 submit.

           Plaintiff did resubmit his grievance on April 26, 2019. He attached to the

 Grievance an RTS seeking the answer to the question, “is the above not my freedom of

 speech?” referencing again his request to have phone recordings made and uploaded to

 his personal website. Unit Manager Ade’s response indicates that it should not be done

 while he is in DOC custody. In the Grievance Plaintiff asked, “do you deny my agent to

 record he and I phone call and upload to personal website.” The re-submitted Grievance

 No. 2019-192 was returned unanswered on May 29, 2019 noting that the grievance form

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 was not correctly completed, that the Grievance and Request to Staff must be specific as

 to a complaint with dates, places, personnel involved and how the inmate was affected.

 Finally, the response noted that due to Plaintiff’s continued failure to properly submit the

 grievance he was out of time.

 Grievance No. 2019-1001-194-G: (Exhibit 3, Pgs. 50-54)

        Plaintiff submitted a Request to Staff to Unit Manager Ade on April 3, 2019

 stating he needed the name of an inmate U/M Ade had attempted to place in his cell

 several weeks prior. U/M Ade responded on April 5, 2019 stating that she was not sure

 of whom he was speaking. Plaintiff submitted Grievance No. 2019-1001-194-G on April

 11, 2019 stating he needed the rest of his name , as a SGT just got word to me that his

 last name is Jenson. The Grievance was returned unanswered on April 17, 2019 noting

 that with grievances writing was not allowed in the margins. He was provided 10 days to

 correct the Grievance and resubmit. Plaintiff chose not to do so.

 Grievance No. 2019-1001-206-G: (Exhibit 3, Pgs. 55-59)

        Plaintiff submitted a Request to Staff to Unit Manager Ade on April 16, 2019

 asking if UM Ade was going to punish him for breaking the Ops and her direct orders.

 Plaintiff stated, “I don’t think you can.” UM Ade responded on April 17, 2019 that if he

 broke policy, he would receive a misconduct. Plaintiff submitted Grievance No. 2019-

 1001-206-G on April 29, 2019 again asking if he was going to be punished for breaking

 Ops and asking for a yes or no answer. The Grievance was returned unanswered on April

 27, 2019 noting that issues related to misconducts were not grievable.

 Grievance No. 2019-1001-237-G: (Exhibit 3, Pgs. 60-64)




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        Plaintiff submitted a Request to Staff to Ms. Sanford (Mental Health) on April 16,

 2019 stating he wanted to speak with her and decide together what could be done to help

 him. That RTS was responded to by Ms. Sanford on April 18, 2019 noting: We have

 talked since you wrote this.

        Plaintiff submitted Grievance No. 2019-1001-237-G on April 26, 2019, stating,

 “stop punishing me for being scared to come out of this hole. Help me.” The Grievance

 was returned unanswered to Plaintiff on May 29, 2019 noting that the grievance was not

 properly completed and that medical grievances must be directed to Ray Larimer, Health

 Services Administrator.

 Grievance No. 2019-1001-238-G: (Exhibit 3, Pgs. 65-70)

        Plaintiff submitted a Request to Staff to Unit Manager Ade on April 12, 2019

 stating he wanted her to look at his mental health issues by not coming out and consider

 the fact that he had no behavior write ups and to return his level -canteen – phone and

 place a good cellie in E-B. The RTS was responded to by Ms. Ade on April 17, 2019

 noting: Misconducts you received were due to your refusal to leave seg.

        Plaintiff submitted Grievance No. 2019-1001-238-G on April 26, 2019 stating, “I

 want you to confirm this is a mental health issue and return my privileges and stop

 punishing me.” The Grievance was returned unanswered on May 29, 2019 noting that

 the grievance was not properly completed and that misconduct issues are not grievable.

 c. Plaintiff clearly had access to the Administrative Remedies Process.

        As demonstrated by his grievance filings attached hereto as Exhibit 3, Plaintiff

 clearly had access to the administrative remedies process at Davis Correctional Facility.

 Terry Underwood, the facility Grievance Coordinator, searched the facility’s records and

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 logs and determined Plaintiff filed twelve (12) grievances while he was confined at Davis

 Correctional Facility. See Exhibit 2, affidavit of Terry Underwood, ¶7.

 d. Proper exhaustion is required but was not accomplished by Plaintiff.

        Noting that the word “exhausted” is a term of art in both administrative law and

 habeas law, Justice Alito, writing for the Court in Woodford v. Ngo, 548 U.S. 81, 126

 S.Ct. 2378, 2387 (2006), stated as follows;

        “With this background in mind, we are persuaded that the PLRA exhaustion
        requirement requires proper exhaustion.”

        And,

        “Construing §1997e(a) to require proper exhaustion also fits with the general
        scheme of the PLRA, whereas respondent’s interpretation would turn the
        provision into a largely useless appendage.”

        As regards whether an inmate had properly exhausted administrative remedies,

 Chief Justice Roberts, writing for the Supreme Court in Jones v. Bock, 127 S.Ct. 910,

 922 (2007), stated, “In Woodford, we held that to properly exhaust administrative

 remedies prisoners must ‘complete the administrative review process in accordance with

 the applicable procedural rules.’ (see Woodford, at 548 U.S., at 88). And, the Chief

 Justice further stated, “The level of detail necessary in a grievance to comply with the

 grievance procedures will vary from system to system and claim to claim, but it is the

 prison’s requirements, and not the PLRA, that define the boundaries of proper

 exhaustion.” Id., at 923.

        The administrative remedies process was available to Plaintiff Roppolo. As

 testified to by Ms. Underwood, he clearly had access to the process. Plaintiff simply

 failed to follow instructions contained within the DOC policy and that were provided to

 him by facility staff. As a result, he failed to properly exhaust administrative remedies.
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           When determining what constitutes “proper exhaustion,” Chief Justice Roberts

 noted in Jones, at 923, that: “We leave it to the court below in the first instance to

 determine the sufficiency of the exhaustion in these cases.” Herein, Plaintiff’s use of the

 administrative remedies process was not sufficient to constitute exhaustion of any of his

 claims.

           The Oklahoma DOC inmate/offender grievance process has repeatedly been

 reviewed by the Courts and the Courts have accepted DOC OP-090124 and its procedural

 process and rules. See Hemphill v. Jones, 343 F. App'x 329, 332 (10th Cir. 2009); Smith

 v. Beck, 165 F. App'x 681, 683-84 (10th Cir. 2006); Holden v. Dinwiddie, 343 F. App'x

 297, 299 (10th Cir. 2009); and, Williams v. Sirmon, 350 F. App'x 294, 298 (10th Cir.

 2009).

           The Oklahoma DOC policy requirements and procedures are no doubt specific,

 but they are not so complicated or convoluted as to justify not properly following them.

 If the Plaintiff was able to navigate the Court system and file a civil rights complaint with

 this Court, it is difficult to imagine that he was not capable of following the grievance

 procedure and listening to instructional assistance from the facility’s Grievance

 Coordinator.

           Exhaustion must occur before the filing of a lawsuit. See Jernigan v. Stuchell, 304

 F.3d 1030 (10th Cir. 2002) (“[a]n inmate who begins the grievance process but does not

 complete it is barred from pursuing a § 1983 claim under PLRA for failure to exhaust his

 administrative remedies”). Plaintiff’s failure to properly complete the grievance process

 regarding the claims he has now brought forward to this Court against these Defendants

 constitutes a failure by him to first properly exhaust administrative remedies.

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        As a result, Defendants’ Motion to Dismiss Plaintiff’s claims and action must be

 granted by this Honorable Court.

                                      CONCLUSION

        Because of Plaintiff’s failure to first exhaust administrative remedies before

 initiating this litigation, the Court should dismiss the Plaintiff’s complaint. Defendants’

 Motion to Dismiss should be granted. Upon dismissal of all of Plaintiff's claims and his

 complaint, Defendants request all further relief to which they may be justly entitled.

                                               Respectfully submitted,
                                               Defendants CoreCivic, Yates, Brown,
                                               Garrison, Ade, Larimer and Sanford.



                                               DARRELL L. MOORE, OBA #6332
                                               COURT PLACE AT NORTH VANN
                                               P.O. BOX 368
                                               PRYOR, OK 74362
                                               (918) 825-0332
                                               (918) 825-7730 fax
                                               jrmpc@swbell.net
                                               Attorney for CoreCivic Defendants




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                                   Certificate of Service

         I hereby certify that on June 25, 2020, I electronically transmitted the
 attached document to the Clerk of Court using the ECF System for filing. Based on the
 records currently on file, the Clerk of Court will transmit a Notice of Electronic Filing to
 the following ECF registrants:


          I hereby certify that on June 25, 2020, I served the attached document by
 regular US Mail on the following, who are not registered participants of the ECF System:

 Paul Roppolo, #600968
 Cimarron Correctional Facility
 3200 S Kings Hwy
 Cushing, OK 74023




                                               DARRELL L. MOORE




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